USCA4 Appeal: 24-1580         Doc: 30        Filed: 08/26/2024   Pg: 1 of 3




                                               UNPUBLISHED

                                   UNITED STATES COURT OF APPEALS
                                       FOR THE FOURTH CIRCUIT


                                                 No. 24-1580


        In re: 25350 PLEASANT VALLEY LLC.

        ------------------------------

        ELSHAN BAYRAMOV,

                                Appellant,
                        v.

        25350 PLEASANT VALLEY LLC,

                                Debtor - Appellee,

                        and

        MAINSTREET BANK,

                                Creditor - Appellee,

                        and

        JANET M. MEIBURGER, Chapter 7 Trustee,

                                Trustee - Appellee,

                        and

        U.S. TRUSTEE,

                                Trustee.
USCA4 Appeal: 24-1580      Doc: 30         Filed: 08/26/2024    Pg: 2 of 3




        Appeal from the United States District Court for the Eastern District of Virginia, at
        Alexandria. Michael Stefan Nachmanoff, District Judge. (1:24-cv-00816-MSN-WBP)


        Submitted: August 22, 2024                                        Decided: August 26, 2024


        Before WILKINSON, WYNN, and RICHARDSON, Circuit Judges.


        Affirmed by unpublished per curiam opinion.


        Elshan Bayramov, Appellant Pro Se. Eric Scott Schuster, FUNK &amp; BOLTON, PA,
        Baltimore, Maryland, for Creditor - Appellee; Janet Marie Meiburger, MEIBURGER
        LAW FIRM, PC, McLean, Virginia, for Trustee - Appellee.


        Unpublished opinions are not binding precedent in this circuit.




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USCA4 Appeal: 24-1580      Doc: 30        Filed: 08/26/2024     Pg: 3 of 3




        PER CURIAM:

              Elshan Bayramov appeals the district court’s order granting 25350 Pleasant Valley

        LLC’s voluntary dismissal of its appeal from the bankruptcy court’s order converting its

        Chapter 11 bankruptcy case to one under Chapter 7. Bayramov contends that the district

        court erred by dismissing the appeal without addressing his pending motion to intervene.

        We have reviewed the record and find no reversible error. See Black v. Cent. Motor Lines,

        Inc., 500 F.2d 407, 408 (4th Cir. 1974) (“[W]henever an action is terminated, for whatever

        reason, there no longer remains an action in which there can be intervention.”); see also

        Moses v. City of Perry, Mich., 90 F.4th 501, 507 (6th Cir. 2024) (affirming dismissal of

        appeal and stating that dismissal mooted nonparty’s motion to intervene). Accordingly,

        we affirm the district court’s order, Bayramov v. 25350 Pleasant Valley LLC, No. 1:24-cv-

        00816-MSN-WBP (E.D. Va. filed June 13, 2024; entered June 14, 2024), and we deny

        Bayramov’s motion to stay the proceedings pending appeal. We dispense with oral

        argument because the facts and legal contentions are adequately presented in the materials

        before this court and argument would not aid the decisional process.

                                                                                     AFFIRMED




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